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       EXHIBIT 36
 Case 1:19-cv-01037-PLM-RSK ECF No. 50-37, PageID.467 Filed 11/19/20 Page 2 of 23
Stanciel v. Donahoe, 570 Fed.Appx. 578 (2014)
30 A.D. Cases 335



                   570 Fed.Appx. 578                               West Headnotes (3)
             This case was not selected for
          publication in the Federal Reporter.
Not for Publication in West's Federal Reporter.                    [1]   Civil Rights 6-• Particular cases
       See Fed. Rule of Appellate Procedure 32.1                          78 Civil Rights
   generally governing citation of judicial decisions                     78II Employment Practices
        issued on or after Jan. 1, 2007. See also                         78k1215 Discrimination by Reason of Handicap,
      Sixth Circuit Rule 28. (Find CTA6 Rule 28)                          Disability, or Illness
                                                                          78k1220 Particular cases
            United States Court of Appeals,
                                                                         United States Postal Service proffered
                     Sixth Circuit.
                                                                         legitimate, nondiscriminatory reason for
        Milton STANCIEL, Plaintiff–Appellant,                            discharging employee with mental disability,
                           v.                                            namely, his numerous attendance violations,
      Patrick R. DONAHOE, Postmaster General,                            during discrimination action under the
                                                                         Rehabilitation Act. Rehabilitation Act of 1973, §
          United States, Defendant–Appellee.
                                                                         504(a), 29 U.S.C.A. § 794(a).
                         No. 13–1921.
                                                                         2 Cases that cite this headnote
                               |
                         July 1, 2014.
                                                                   [2]   Civil Rights 6-• Disparate treatment
Synopsis
                                                                          78 Civil Rights
Background: Employee brought action against his former
                                                                          78II Employment Practices
employer, the United States Postal Service, alleging that it did          78k1215 Discrimination by Reason of Handicap,
not accommodate his mental disability and terminated him                  Disability, or Illness
solely because of his disability, in violation of Rehabilitation          78k1222 Disparate treatment
Act. The United States District Court for the Eastern District           Employee with mental disability did not
of Michigan, 2013 WL 1914314, entered summary judgment                   establish that United States Postal Service's
for employer. Employee appealed.                                         proffered legitimate, nondiscriminatory reason
                                                                         for his discharge, namely, numerous
                                                                         attendance violations, was pretext for disability
Holdings: The Court of Appeals, Griffin, Circuit Judge, held             discrimination under the Rehabilitation Act;
that:                                                                    employee had history of attendance problems,
                                                                         Postal Service proposed to terminate employee
[1] employee did not establish that employer's proffered                 at least five times before for similar attendance
legitimate, nondiscriminatory reason for his discharge was               violations, and employee had no evidence that
pretext for disability discrimination, and                               he was treated any differently from similarly
                                                                         situated non-disabled employees. Rehabilitation
[2] employee did not make request for accommodation, as                  Act of 1973, § 504(a), 29 U.S.C.A. § 794(a).
required to support failure to accommodate claim.
                                                                         4 Cases that cite this headnote


Affirmed.                                                          [3]   Civil Rights 6-• Requesting and choosing
                                                                         accommodations; interactive process;
Procedural Posture(s): On Appeal; Motion for Summary                     cooperation
Judgment.                                                                 78 Civil Rights
                                                                          78II Employment Practices
                                                                          78k1215 Discrimination by Reason of Handicap,
                                                                          Disability, or Illness



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          78k1225 Accommodations                                  aides his ability to learn or understand when people repeat
          78k1225(4) Requesting and choosing                      instructions to him or speak to him slowly. Notwithstanding
          accommodations; interactive process; cooperation        this disability, plaintiff graduated from high school with the
         Employee with mental disability made no                  assistance of special education classes. He then attended
         request for an accommodation, as required                Wayne Community College for some time, and later the
         to support prima facie case of failure to                Detroit Business Institute. Plaintiff has an IQ of 69.
         accommodate against United States Postal
         Service under the Rehabilitation Act; Postal             Plaintiff began working for defendant as a bulk mail handler
         Service did not need to accommodate plaintiff            in January 1991 and was a member of the National Postal
         in order for him to understand or comply                 Mail Handlers Union, Local 307. Because of his mental
         with attendance policy and procedures at issue,          impairment, defendant hired plaintiff through a special, non-
         and, although employee requested revised work            competitive hiring process. This process excused plaintiff
         schedule, he never told Postal Service that              from taking the standard service entrance exams to determine
         he needed this accommodation because of his              literacy or ability to serve as an employee. Included among
         disability. Rehabilitation Act of 1973, § 2 et seq.,     the paperwork completed during the hiring process is a
         29 U.S.C.A. § 701 et seq.                                certification of disability form which lists plaintiff as having
                                                                  disability code 90, defined as “mental retardation.” All agree
         8 Cases that cite this headnote
                                                                  that plaintiff excelled at his job as a “sack sorter,” keying in
                                                                  zip codes of mail as it passed him on a conveyor belt.

                                                                  However, plaintiff had serious attendance problems. Plaintiff
 *579 On Appeal from the United States District Court for         received thirteen multi-day suspensions for attendance
the Eastern District of Michigan.                                 infractions between July 1994 and June 2009. He also
                                                                  received five notices of removal during his tenure that
Before GRIFFIN and DONALD, Circuit Judges; and
                                                                  ultimately were modified to provide him with another chance
GRAHAM, District Judge. *                                         to retain his employment. Admittedly conscious of his
                                                                  attendance issues, plaintiff utilized various strategies to avoid
*       The Honorable James L. Graham, Senior United              infractions. For example, when he knew he would be late, he
        States District Judge for the Southern District of        would call and ask his supervisor, Donna Bright, to punch him
        Ohio, sitting by designation.                             in before he arrived. Bright complied initially but later refused
                                                                  after plaintiff made the request “too many times.” Plaintiff
Opinion                                                           also took his timecard home with him overnight so he could
                                                                  clock in at the first time clock he encountered when entering
GRIFFIN, Circuit Judge.
                                                                  the facility, rather than at the clock closest to his work station,
Plaintiff Milton Stanciel sued his former employer, the United    where his timecard normally would be kept. Further, plaintiff
States Postal Service, alleging that it did not accommodate his   obtained Bright's permission to use his annual leave to cover
mental disability and terminated him solely because of that       the time he missed when tardy. And, despite the fact that
disability, all in violation of the Rehabilitation Act of 1973,   defendant disciplined *580 plaintiff for being absent without
29 U.S.C. §§ 701–797. The district court granted summary          leave on many occasions, plaintiff was aware of the form he
judgment to defendant on both claims. We affirm.                  needed to complete to comply with the general procedure for
                                                                  requesting time off.

                                                                  In 2008, plaintiff developed an alcohol abuse problem. He
                               I.                                 admitted that he had been drinking daily, even before work
                                                                  and on his lunch breaks, and that he had also been using
Plaintiff suffers from a mental disability. He was first
                                                                  marijuana and cocaine. He also admitted that his drinking
diagnosed with a learning disability when he was 12 years
                                                                  problem caused him to be late.
old, as a 6th grade student in the Detroit Public School
system. Plaintiff's disability makes it difficult for him to
understand directions he is given, and he finds that it greatly


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In September 2009, plaintiff participated in another pre-            1       Plaintiff does not challenge this ruling on appeal.
disciplinary interview for attendance problems. Under the
attendance policy in effect at plaintiff's location, if an
employee has more than three attendance infractions over                                            II.
a ninety-day period, the computer notifies the supervisor to
conduct an attendance review. Plaintiff does not dispute that
                                                                                                    A.
he incurred four violations during the relevant time period:
two tardies and two absences. During the meeting, plaintiff          We review de novo the district court's grant of summary
cited “car problems” and “transportation” as the reason for his
                                                                     judgment. Geiger v. Tower Auto., 579 F.3d 614, 620 (6th
absences. Bright did not offer plaintiff an accommodation for
                                                                     Cir.2009). Summary judgment is proper when, viewing the
his disability at this time because she did not know one was
                                                                     evidence in the light most favorable to the nonmoving party,
needed, nor was she ever told that defendant had previously
                                                                     there is no genuine dispute as to any material fact and the
certified that plaintiff was mentally disabled. She was also
                                                                     moving party is entitled to judgment as a matter of law. *581
unaware that plaintiff had a drinking problem, and plaintiff
                                                                     Fed.R.Civ.P. 56(a); Burley v. Gagacki, 729 F.3d 610, 618 (6th
did not inform her of his problem during the interview.
                                                                     Cir.2013).

After the investigation was complete, on September 22, 2009,
Betty Mitchell, acting Supervisor Distribution Operations,
issued a letter of removal notifying plaintiff of his termination                                   B.
effective October 30, 2009. Plaintiff subsequently checked
                                                                     Plaintiff first argues that he has created a genuine issue
himself into rehabilitation for alcoholism and drug abuse, and
                                                                     of material fact on whether defendant terminated his
on October 8, 2009, he returned to work and worked until his
                                                                     employment “solely because of” his disability in violation of
removal date.
                                                                     the Rehabilitation Act. We disagree.
In May 2010, as a result of a successful union grievance
                                                                     The Rehabilitation Act provides that “[n]o otherwise
process related to his termination, plaintiff signed a “redress
                                                                     qualified individual with a disability ... shall, solely by reason
mediation settlement agreement” with defendant. Under that
                                                                     of her or his disability, be excluded from the participation in,
agreement, plaintiff could have returned to work if he,
                                                                     be denied the benefits of, or be subjected to discrimination
among other things, passed a drug test. However, plaintiff
                                                                     under any program or activity ... conducted by any Executive
later decided that the drug test requirement was unfair,
                                                                     Agency or by the United States Postal Service.” 29 U.S.C.
and he rejected the settlement. Plaintiff's grievance was
                                                                     § 794(a). To prevail on a claim of discriminatory discharge
ultimately denied on December 15, 2010, when an arbitrator
                                                                     under the Act, a plaintiff must “prove that he was fired solely
found that defendant had “just cause” to terminate plaintiff's
                                                                     by reason of his disability.” Jones v. Potter, 488 F.3d 397, 409
employment.
                                                                     (6th Cir.2007) (internal quotation marks, ellipses, and citation
                                                                     omitted); see also Lewis v. Humboldt Acquisition Corp., Inc.,
In April 2011, plaintiff filed the instant suit against defendant,
                                                                     681 F.3d 312, 317 (6th Cir.2012) (en banc) (“The sole-cause
raising a variety of claims under state and federal law. By
                                                                     standard ... is a creature of the Rehabilitation Act[.]”). An
2013, as a result of plaintiff's subsequent abandonment of
                                                                     employer makes a termination decision “solely” because of
certain claims and the district court's ruling on defendant's
                                                                     its employee's disability when “the employer has no reason
motion to dismiss, 1 only two claims remained: (1) disability        left to rely on to justify its decision other than the employee's
discrimination under the Rehabilitation Act—based on the             disability[.]” Monette v. Elec. Data Sys. Corp., 90 F.3d 1173,
above-described mental disability and alcoholism; and (2)            1183 n. 9 (6th Cir.1996), abrogated on other grounds by
gender discrimination under Title VII of the Civil Rights            Lewis, 681 F.3d at 313–14.
Act. Defendant filed a motion for summary judgment on
both claims, which the district court granted. Plaintiff timely      In assessing Rehabilitation Act discrimination claims based
appealed, challenging only the ruling related to his disability      on circumstantial evidence—as is the case here—we apply
discrimination claim based on his mental disability.                 the three-step McDonnell Douglas framework. Gribcheck v.
                                                                     Runyon, 245 F.3d 547, 550 (6th Cir.2001). First, a plaintiff
                                                                     must set forth evidence from which a jury could conclude a


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prima facie case of discrimination has been established. Macy       because (1) he has offered affidavits from two co-workers
v. Hopkins Cnty. School Bd. of Educ., 484 F.3d 357, 364 (6th        showing that Bright was dishonest when asked during her
Cir.2007). Then, the burden shifts to the employer to articulate    deposition if she knew of his disability; (2) discipline for
some “legitimate, nondiscriminatory reason” for its actions.        attendance violations is left to the “arbitrary” discretion of
Id. Finally, if the defendant meets that burden, “the plaintiff     his supervisors; and (3) he was the only employee that was
must identify evidence from which a reasonable jury could           asked to take a drug test in addition to the regular medical
conclude that the proffered reason is actually a pretext for        clearance exam in order to be reinstated in connection with his
unlawful discrimination.” Id.                                       final “Last Chance” agreement. This evidence does not allow
                                                                    a reasonable jury to conclude that defendant's attendance
To establish a prima facie case of discrimination under the         rationale did not actually motivate its decision to terminate
Rehabilitation Act, a plaintiff must show that (1) he is            plaintiff's employment.
disabled; (2) he is otherwise qualified for the position, with
or without reasonable accommodation; (3) he suffered an             First, even if we agree with plaintiff that his co-workers'
adverse employment decision; (4) the employer knew or had           affidavits create a fact question on whether Bright was lying
reason to know of his disability; and (5) either the position       when she said that she did not know that he was disabled,
remained open; he was replaced by a non-disabled person; or         a determination in plaintiff's favor would not support an
similarly-situated non-disabled employees were treated more         inference that he was fired “solely by reason of” his disability
favorably. DiCarlo v. Potter, 358 F.3d 408, 418 (6th Cir.2004).     because he admits to the attendance violations and because
                                                                    the Rehabilitation Act does not prohibit an employer from
In this case, the district court assumed that plaintiff has         discharging someone for egregious misconduct, even if the
established a prima facie case. Defendant does not challenge        misconduct was “causally related to” a disability. Maddox v.
this determination on appeal. Accordingly, we turn to pretext.      Univ. of Tenn., 62 F.3d 843, 847 (6th Cir.1995), abrogated
                                                                    on other grounds by Lewis, 681 F.3d at 313–14; see also
 [1]     Defendant has articulated a legitimate, non-               LaPorta v. Wal–Mart Stores, Inc., 163 F.Supp.2d 758, 769
discriminatory reason for terminating plaintiff's employment        (W.D.Mich.2001) (“Maddox and its progeny ... stand for
—his numerous attendance violations. Plaintiff may                  the proposition that an employer may lawfully discharge
demonstrate that defendant's rationale is a pretext designed to     an employee for egregious misconduct, even when the
mask intentional disability discrimination with proof that the      misconduct is allegedly induced by a disability.”).
attendance rationale had either (1) no basis in fact; (2) did not
actually motivate defendant's termination decision; or (3) was      Second, the record does not support plaintiff's argument that
insufficient to motivate termination. Jones, 488 F.3d at 406.       his supervisors arbitrarily issued discipline for his numerous
On this record, plaintiff cannot make that showing.                 attendance violations. Bright testified that when the computer
                                                                    notifies her that the employee has had three attendance
 [2] Plaintiff does not dispute that he has a history of            incidents in the prior ninety days, she considers the reasons
attendance problems or that defendant's attendance policy           for the infractions and she makes a decision as to whether
states *582 that “Failure to be regular in attendance may           to start the disciplinary process or to continue to watch
result in disciplinary action, including removal from the           the person's attendance. Further, plaintiff does not dispute
Postal Service.” Plaintiff also does not dispute that defendant     that he has a long history of attendance violations and
proposed to terminate plaintiff at least five times before for      that defendant had previously issued a series of progressive
similar attendance violations, and plaintiff had only retained      disciplinary actions, including multi-day suspensions and
his job through union grievances and two so-called “Last            repeat proposals of termination. No reasonable jury could find
Chance Agreements.” Thus, no reasonable jury could find             that defendant's termination of plaintiff's employment was an
that defendant's attendance rationale has no basis in fact          arbitrary disciplinary action designed to conceal intentional
or was insufficient to motivate defendant's decision to end         disability discrimination.
plaintiff's employment.
                                                                    Third, defendant's requirement that plaintiff submit to a
Likewise, no reasonable jury could find that defendant's            drug test as part of his final “Last Chance” agreement does
attendance rationale did not actually motivate defendant's          not show pretext. Plaintiff fails to come forward with any
decision. Plaintiff argues that he has established pretext          evidence that any other employee who had a “Last Chance”



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agreement based on attendance problems had admitted                 In this case, plaintiff claims that he “arguably” requested
abusing illegal drugs but was not required to take a drug test as   an accommodation because he (1) asked supervisors for
part of a reinstatement package. In other words, plaintiff has      help with “policies and procedures” regarding certain
no evidence that he was treated any differently than similarly-     attendance forms; (2) requested a “revised work schedule”;
situated non-disabled employees.                                    and (3) made a “blanket, permanent” request for reasonable
                                                                    accommodations in his certification of disability form
 *583 In sum, although plaintiff has established a prima facie      completed during the hiring process in 1991. This evidence
case of disability discrimination, he has offered no evidence       does not show that plaintiff actually requested defendant to
from which a reasonable jury could conclude that defendant's        accommodate his disability.
proffered rationale for its termination decision—numerous
attendance violations—was pretextual.                               First, the record does not demonstrate a causal relationship
                                                                    between plaintiff's disability and his request for help with
                                                                    “policies and procedures.” Plaintiff's deposition testimony
                                                                    reveals that he understood the relevant policies and his work
                               C.
                                                                    history shows that he was capable of reporting to work
Next, plaintiff argues that he has created a genuine issue of       as scheduled. In other words, defendant did not need to
material fact on whether defendant failed to accommodate his        accommodate plaintiff in order for him to understand or
disability in violation of the Rehabilitation Act. Again, we        comply with the attendance policy and procedures at issue.
disagree.
                                                                    Second, although plaintiff requested a “revised work
To establish a prima facie case of failure to accommodate           schedule,” he admits that he never told defendant that
under the Rehabilitation Act, a plaintiff must show that (1)        he needed this accommodation because of his disability.
he has a disability; (2) he was qualified for the position; (3)     Moreover, plaintiff explained that what he meant by a
the agency was aware of his disability; (4) an accommodation        “revised work schedule” was being granted permission to
was needed, “i.e., a causal relationship existed between            use annual leave when he was late, even though it was not
the disability and the request for accommodation;” and (5)          scheduled—a practice that his supervisors apparently allowed
the agency failed to provide the accommodation. Gaines              for some time. Under these circumstances, defendant would
v. Runyon, 107 F.3d 1171, 1175 (6th Cir.1997). If the               have no reason to know that plaintiff was requesting an
plaintiff establishes a prima facie case, “the burden shifts        accommodation under the Rehabilitation Act when he asked
to the employer to demonstrate that the employee cannot             for a “revised work schedule.” See Enica v. Principi, 544 F.3d
reasonably be accommodated, because the accommodation               328, 338 (1st Cir.2008) (“[T]he employee must prove that the
would impose an undue hardship on the operation of its              request was sufficiently direct and specific so as to put the
programs.” Id. at 1175–76.                                          employer on notice of the need for an accommodation.”).


 [3] Plaintiff cannot establish the fourth element of his            *584 Third, and similarly, nothing in plaintiff's certification
prima facie case because he never requested that defendant          of disability form shows that he made a “blanket,
accommodate his disability. “It is well settled in cases            permanent” request that defendant grant him unidentified
brought under the Rehabilitation Act ... that reasonable            accommodations for unidentified aspects of the job
accommodation is not at issue if the plaintiff has never            throughout the duration of his employment. The document
requested accommodations.” Gantt v. Wilson Sporting Goods           merely contains a certification from the Michigan
Co., 143 F.3d 1042, 1046 n. 4 (6th Cir.1998) (citing Lue            Rehabilitation Services that a counselor has:
v. Moore, 43 F.3d 1203, 1206 (8th Cir.1994); Wood v.
President of Spring Hill College, 978 F.2d 1214, 1222 (11th
Cir.1992)). The rule is justified by the sensible policy that the                reviewed the job requirements and the
“employer is not required to speculate as to the extent of the                   job site and certify that the above-
employee's disability or the employee's need or desire for an                    named applicant for the cited position
accommodation.” Id. at 1046–47.                                                  in Detroit, Michigan [ ] has a severe
                                                                                 disability, code # 90(LD), and: a. Has
                                                                                 the ability to perform the duties of



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                                                                          Plaintiff does not point to any evidence in the record that
                                                                          would lead a reasonable trier of fact to conclude that
             the position; b. Is qualified to do                          defendant should have known that he was not arriving
             the work without hazard to self or                           on time or was absent without leave because of his
             others; and c. Is physically and socially                    disability. Although plaintiff was disabled throughout his
             competent to maintain self in a work                         entire tenure with defendant, he displayed an ability to meet
             environment, either independently, or                        the requirement for regular attendance in the first two years
             with continuing help as has been                             of his employment and for significant periods after that.
             provided in after-work hours living.                         Plaintiff also told defendant that there were a number of other
                                                                          reasons why his attendance suffered, from transportation
                                                                          issues to drug and alcohol abuse, but never mentioned his
In no way can this passage be reasonably construed                        disability as one of those reasons. Further, it is undisputed
as a perpetual request for an accommodation under the                     that, except for the circumstances surrounding his hiring, he
Rehabilitation Act.                                                       never told his supervisors that he even had a mental disability.
                                                                          Consequently, this record does not create a genuine issue of
Additionally, because we find that plaintiff did not request an           material fact on whether defendant had a reason to know that
accommodation, plaintiff alternatively argues that he should              this disability caused attendance issues.
be excused from making such a request. Citing an unappealed
district court opinion that applies out-of-circuit case law               In sum, because plaintiff made no request for an
and interprets dicta from two of our unpublished opinions,                accommodation, and because he is not excused from making
plaintiff argues that the application of the general rule that a          the request under the circumstances presented, there is no
plaintiff must request an accommodation in order to establish             evidence from which a reasonable jury could find that
a prima facie case is not warranted if: (1) the disability at issue       defendant failed to accommodate plaintiff's disability.
is a mental disability that is obvious or otherwise known to the
employer without notice from the employee; (2) the employer
had reason to believe that the employee is experiencing work
                                                                                                        III.
problems because of that disability; and (3) the nature of
the disability impairs the employee's ability to request an               For the foregoing reasons, we affirm the judgment of the
accommodation. See Moloney v. Home Depot U.S.A., Inc.,                    district court.
No. 11–10924, 2012 WL 1957627, *14 (E.D.Mich. May 31,
2012). Assuming arguendo that this three-part conjunctive
test is the law of the circuit—which it is not—plaintiff cannot           All Citations
meet the second element.
                                                                          570 Fed.Appx. 578, 30 A.D. Cases 335


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         Wurzel v. Whirlpool Corp., 482 Fed.Appx. 1 (2012)
         26 A.D. Cases 521, 45 NDLR P 40

                                                                                         Employer's determination that an employee
                                                                                         suffering from Prinzmetal angina posed a
              KeyCite Yellow Flag - Negative Treatment                                   direct threat to his own safety and that
         Distinguished by Shelton v. City of Cincinnati, S.D.Ohio, November 1,
                                                                                         of others in a plant was based on a
         2012
                                                                                         reasonable medical judgment, which relied on
                                                                                         the most current medical knowledge and best
                              482 Fed.Appx. 1
                       This case was not selected for                                    available objective evidence and reflected an
                   publication in the Federal Reporter.                                  individualized assessment of the employee's
              Not for Publication in West's Federal Reporter                             abilities, thus defeating the employee's claim
                See Fed. Rule of Appellate Procedure 32.1                                of an ADA violation in connection with work
             generally governing citation of judicial decisions                          restrictions and an unpaid leave; the employee's
                 issued on or after Jan. 1, 2007. See also                               condition was life-long, he worked close to
               Sixth Circuit Rule 28. (Find CTA6 Rule 28)                                dangerous automatic machinery and, at times,
                      United States Court of Appeals,                                    out of the sight of other employees, he had once
                               Sixth Circuit.                                            previously been found on the worksite doubled
                                                                                         over and close to passing out, and that numerous
                    Brian WURZEL, Plaintiff—Appellant,                                   times he had required the assistance of a fellow
                                          v.                                             employee. Americans with Disabilities Act of
                WHIRLPOOL CORP., Defendant—Appellee.                                     1990, § 201 et seq., 42 U.S.C.A. § 12131 et seq.;
                                                                                         29 C.F.R. § 1620.2(r).
                                    No. 10-3629.
                                                                                         26 Cases that cite this headnote
                                   April 27, 2012.

         Synopsis
         Background: Employee who suffered from Prinzmetal                       *1 On Appeal from The United States District Court for The
         angina sued his employer, claiming discrimination in                    Northern District of Ohio.
         violation of the Americans with Disabilities Act (ADA).
         The United States District Court for the Northern District of           Before BOGGS and MCKEAGUE, Circuit Judges; and

         Ohio,   2010 WL 1495197, entered judgment against the                   GOLDSMITH, District Judge. *
         employee, and he appealed.

                                                                                                          OPINION

         Holding: The Court of Appeals, Mark Goldsmith, District                 MARK GOLDSMITH, District Judge.
         Judge, sitting by designation, held that the employer's
         determination that the employee posed a direct threat to his             **1 Plaintiff Brian Wurzel appeals the district court's
         own safety and that of others in a plant was reasonable.                order granting Defendant Whirlpool Corporation's motion for
                                                                                 summary judgment in this employment discrimination case,
                                                                                 brought principally under the Americans with Disabilities
         Affirmed                                                                Act (ADA), 42 U.S.C. § 12101 et seq. The district court
                                                                                 granted summary judgment, in part, based on Wurzel posing
         Procedural Posture(s): On Appeal.                                       a direct threat to his own safety and that of others in the
                                                                                 plant. Although we employ a different analysis than did
                                                                                 the district court, we ultimately conclude that the record
          West Headnotes (1)
                                                                                 establishes, as a matter of law, that Wurzel did pose a direct
                                                                                 threat. In particular, the record establishes that Whirlpool's
          [1]     Civil Rights      Employment qualifications,                   determination that Wurzel posed a direct threat was based
                  requirements, or tests                                         on a reasonable medical judgment, which relied on the
                                                                                 most current *2 medical knowledge and best available


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         Wurzel v. Whirlpool Corp., 482 Fed.Appz. 1 (2012)
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         objective evidence and reflected an individualized assessment      symptoms were not relieved after that, he should go to an
         of Wurzel's abilities. The record also establishes that there      emergency room. Issa Dep. at 76-77, 87. A side effect of
         is no evidence of a reasonably based medical judgment              nitroglycerin is hypotension, which can also lead to dizziness,
         supporting the view that Wurzel did not pose a direct threat.      lightheadedness, and fatigue. Id. at 46-47, 77.
         Accordingly, we AFFIRM.
                                                                             **2 Despite his affirmation that he did not know when a
                                                                            spasm would occur, Wurzel contends that he would be able
                                                                            to stop what he was doing before becoming incapacitated.
                  FACTS AND PROCEDURAL HISTORY
                                                                            Wurzel Dep. at 130 (R. 36). At the beginning of a spasm, he
         I. Facts                                                           would feel something akin to indigestion, and then when he
         Brian Wurzel began working for Whirlpool in 1983. In 2003,         was not "feeling right" he would "stop and see how things
         Wurzel was employed as a materials handler at Whirlpool's          progressed." Id. at 130, 144. If he felt safe, then he continued
         Clyde Division manufacturing site. Wurzel's primary duty           working; if he did not feel safe, he would let his supervisor
         was to drive a tow motor (forklift) to transport boxes             know that he was not able to continue working. Id. The parties
         containing product literature to and from a subassembly area.      agree that Wurzel had a clean record driving the tow motor. Id.
         This entailed driving throughout the factory floor among
         pedestrian co-workers at a speed of between five and seven         Over the course of the relevant time period, Wurzel
         miles per hour. Being able to safely operate a tow motor is an     visited, or was reviewed by, several doctors, including Dr.
         essential function of the materials-handler position.              Robert Marshall (Whirlpool's plant physician), Dr. Mark
                                                                            Issa (Wurzel's treating cardiologist), Dr. Frederick Stockton
         Whirlpool's Clyde Division employs over 2,500 employees            (a cardiology specialist who also treated Wurzel), and Dr.
         and contains six operating assembly lines, all of which             *3 Haridas Biswas (a cardiologist who conducted an
         include moving machinery. Numerous vehicles are used               independent medical examination on Wurzel).
         onsite, including tow motors weighing 10,000 pounds. Tow
         motors and pedestrians share space; tow motor lanes and            In November 2007, Wurzel underwent a heart catheterization
         pedestrian lanes are separated by painted lines only. The site     performed by Dr. Stockton, who recommended that Wurzel
         also has other machinery including presses, drills, cutting        could work with no restrictions. Note of 11/8/07 (R. 42-1
         machinery, and moving assembly lines carrying large parts          at 35). Wurzel then met with Whirlpool's plant physician,
         and products. The machines are automated and many of them          Dr. Marshall, for a return-to-work evaluation. Marshall Dep.
         move at a fast pace.                                               at 19-20 (R. 43). Dr. Marshall's job as plant physician is
                                                                            to treat injured workers and to evaluate workers to confirm
         Wurzel's medical problems related to this case first began in      that they are medically able to perform their jobs. Id. at 5.
         April 2003 when Wurzel visited a hospital emergency room           At the meeting, Wurzel informed Dr. Marshall that he had
         because of chest pain. Wurzel Dep. at 43 (R. 35). In May           been diagnosed with Prinzmetal angina, and that he took
         2003, Wurzel visited Whirlpool's Employee Health Center            nitroglycerin pills to relieve his symptoms. Marshall Note of
         (EHC) with chest pain. Patient Note of 5/15/03 (R. 30-15).         11/8/07 (R. 37-2 at 23). Wurzel told Dr. Marshall that he was
         In November 2007, Wurzel was diagnosed with Prinzmetal             not having any problems at the time, and that he had to use
         angina. Wurzel Dep. at 28.                                         nitroglycerin about once every two months, but "that takes
                                                                            care of it." Id. After confirming that Dr. Stockton understood
         Prinzmetal angina causes spasms in the coronary arteries. Issa     Wurzel's job duties and their safety-sensitive nature, Dr.
         Dep. at 9 (R. 38). There is no way for Wurzel to predict when      Marshall returned Wurzel to his materials-handler job without
         a spasm will occur, how severe it will be, or how long it          restriction. Id.
         will last. Id. at 10; Wurzel Dep. at 40. When he has a spasm,
         Wurzel experiences tightness in his chest, shortness of breath,    On March 11, 2008, Wurzel had an angina spasm and
         numbness in his left arm, pain in his neck, and sometimes          visited the EHC. Wurzel Dep. at 98-99 (R. 35). Wurzel had
         dizziness and fatigue. Wurzel Dep. at 33-34. When Wurzel           not taken his nitroglycerin pills and was instead "trying to
         begins to experience a spasm, he takes nitroglycerin pills         fight it." Id. Wurzel was fatigued, felt that he could not
         to relieve his symptoms. Id. at 29. Wurzel was directed to         safely operate a tow motor, and went home. Id. In Wurzel's
         take up to three nitroglycerin pills, five minutes apart; if his   return-to-work evaluation with Dr. Marshall two days later,



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         Wurzel told Dr. Marshall that he had experienced two spasms        very fatigued and wanted to go home. Notes of 6/10/08 (R.
         back-to-back, but that his symptoms resolved after he took         37-2 at 21); Wurzel Dep. at 153-55. On June 17, 2008,
         nitroglycerin. Marshall Note of 3/13/08 (R. 37-2 at 24). Dr.       Wurzel's supervisor again brought Wurzel to the EHC after
         Marshall noted his concern that Wurzel might be at risk            a spasm. Wurzel had a rapid pulse, and he experienced
         for sudden incapacitation, and stated that he would await          additional angina at the EHC. Wurzel went home. Notes
         further information from Wurzel's treating cardiologist, Dr.       of 6/17/08 (R. 37-2 at 21). 2 On August 4, 2008, another
         Issa, regarding Wurzel's status and whether he should be           employee reported that Wurzel was "ready to pass out."
         driving. Id.                                                       Wurzel told the employee that he would be fine as soon as he
                                                                            took his medicine. Lopez email of 8/19/08 (R. 42-1 at 22). On
         However, when Wurzel saw Dr. Issa, Wurzel was not entirely         August 6, 2008, another employee reported that Wurzel was
         forthcoming about his medical history. He informed Dr. Issa        doubled over on a bench and "ready to pass out." Wurzel's
         that he had experienced "rare episodes of chest tightness          wife took him home that day. Id. On September 5, 2008,
         relieved with nitroglycerin," but Wurzel "otherwise denied         Wurzel went to the EHC after what he called a "really bad"
         any cardiac symptoms." Wurzel Dep. at 107 (R. 36); Issa            bout of angina. Wurzel was red in the face and short of breath.
         Notes of 3/13/08 (R. 37-2 at 25). Wurzel did not tell Dr. Issa     He left the EHC and went home. Notes of 9/5/08 (R. 37-
         that he had gone to the EHC because of a spasm, or that he had     2 at 21). On September 26, 2008, Wurzel's supervisor again
         left work early due to his own concerns related to fatigue and     brought Wurzel to the EHC after Wurzel had experienced
         safety. Id; Issa Dep. at 50. Although Wurzel states that he told   another bad spasm and taken three nitroglycerin pills. Wurzel
         Dr. Issa that he operated a tow motor, Wurzel Dep. at 109, Dr.     was dizzy and fatigued, so he went home. Notes of 9/26/08
         Issa testified at his deposition that he did not know what type    (R. 37-2 at 21); Wurzel Dep. at 182.
         of machinery Wurzel operated, nor was he familiar with the
         Whirlpool plant or Wurzel's working environment. Issa Dep.         After the September 26 spasm, Barbara Dewey, the human
         at 57-58. Dr. Issa concluded that Wurzel could return to work      resources administrator in charge of the EHC, told Wurzel
         without restrictions, noting that Wurzel was not at any more       that Dr. Marshall would have to clear him to return to work.
         risk for sudden incapacitation "than any other [patient] being     Wurzel Dep. at 183-84. On October 2, 2008, Wurzel saw
         treated for angina." Issa Note of 3/13/08 (R. 42-1 at 37).         Dr. Roush (a cardiologist filling in for Dr. Issa). Dr. Roush
                                                                            submitted the same one-page form recommendation that Dr.
          **3 Despite Dr. Issa's conclusion, Dr. Marshall remained          Issa had submitted previously, stating that Wurzel could
         concerned about Wurzel's risk for sudden incapacitation            return to work with no restrictions, and that Wurzel was not
         because Dr. Marshall understood that a person with angina          at any greater risk for sudden incapacitation than any other
         is at a higher risk for incapacitation than a person who           patient being treated for angina. Roush note of 10/2/08 (R.
         has no heart condition at all. Marshall Aff. ¶ 5 (R. 30-           37-2 at 44). Wurzel also saw Dr. Marshall on October 2 for a
         14); Issa Dep. at 56. Dr. Marshall decided, based upon the         return-to-work evaluation. Marshall Note of 10/2/08 (R. 37-
         risk for incapacitation and Wurzel's working environment,          2 at 42). Dr. Marshall reviewed Dr. Roush's recommendation,
         that Wurzel should be returned to work and be restricted
                                                                            but remained concerned that Wurzel posed a safety risk. 3 Id.;
         from driving a tow motor or any other company vehicle.
                                                                            Marshall Aff. ¶¶ 6-7. *5 Accordingly, Dr. Marshall obtained
         Marshall Aff. ¶¶ 4-5. 1 Whirlpool assigned Wurzel to the           Wurzel's permission to follow up with Dr. Issa. Wurzel Dep.
          *4 temporary job of gatekeeper/tollkeeper until he could          at 186. According to Dr. Marshall, "[allthough Dr. Issa stated
         successfully bid on a permanent position that did not require      Mr. Wurzel couldreturn to work, he provided no confirmation
         driving. Schulz Aff. ¶ 7.                                          that Mr. Wurzel was not at risk for sudden incapacitation.
                                                                            Accordingly, I allowed Mr. Wurzel to return to work, but kept
         From June to September of 2008, Wurzel experienced                 the restriction that Mr. Wurzel could not drive a tow motor
         numerous spasms while at work. Shortly before June 10,             unless he was spasm-free for six months." Marshall Aff. ¶ 7.
         2008, Wurzel had five spasms in four days. On June 10,             Wurzel returned to work on October 7, 2008.
         Wurzel's supervisor transported Wurzel to the EHC by cart
         because Wurzel was lightheaded and tired and did not feel           **4 In October 2008, Wurzel bid on, and obtained, a position
         comfortable waking without assistance to the EHC. Although         as a multi-process team member in the paint department.
         Wurzel stated that he was beginning to feel better after taking    Wurzel Dep. at 191-93; Schulz Aff. ¶ 8 (R. 30-11). The
         a nitroglycerin pill, the nurse's notes state that he appeared     position did not involve driving a tow motor. After a review


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         of the position's duties, Whirlpool determined that Wurzel             arteries are normal and he is having some atypical chest
         could perform the job. Restriction Review of 10/8/08 (R. 41-           pain and he is on medications, I do not have any objection
         1 at 18). Wurzel's duties in the paint department included             to him going back to work without restrictions.
         inspecting the finish on washer cabinets and lids, transferring
         cabinets that needed to be painted a different color, and               **5 In conclusion, although the patient has atypical
         tooling, which involved placing parts on a conveyor line               angina or chest pain, whatever it is, it seems under control
         to be painted, then removing the parts from the conveyor               and the patient rarely gets these episodes and according
         line after they were finished. Schulz Aff. ¶ 8. Each of these          to him, these episodes can be quickly brought under
         duties was performed on a rotating basis, meaning that Wurzel          control with the nitroglycerine used sublingually. From that
         rotated from one position to the next every half hour. Wurzel          point of view, I think he can return to work without any
         Dep. at 194. Employees are required to rotate so as to vary            restrictions.
         their muscle group usage and avoid excessive muscle fatigue
                                                                              Id. at 3-4. Accordingly, Dr. Marshall authorized Wurzel to
         or injury. Id. ¶ 9. Whirlpool asserts, and Wurzel does not
                                                                              return to his paint-department position in December 2008.
         challenge, that the ability to rotate through all of the positions
                                                                              Marshall Dep. at 14.
         is an essential function of the job. Id. ¶ 10. Of particular
         importance, in the "tooling" position, the conveyor line is
                                                                              In the beginning of 2009, Wurzel again had spasms at work:
         low-hanging and moves continuously. Id. ¶ 8. In addition, one
         of the rotations required Wurzel to work alone on the upper            • On January 22,2009, Wurzel was transported via an in-
         floor of the plant. Id.                                                  plant ambulance and stretcher to the EHC, complaining
                                                                                  of chest pain. Wurzel stated that he was not dizzy, but
         Shortly after returning to work, Wurzel experienced at least             felt fatigued and went home. EHC Record of 1/22/09 (R.
         one additional spasm. On October 22,2008, Wurzel visited                 37-2 at 55).
         the EHC complaining of chest pain. He took nitroglycerin and
         was driven home by his wife. EHC Record of 10/22/08 (R.                • On January 30,2009, Wurzel visited the EHC because
         37-2 at 47). 4 After this spasm, the EHC nurse told Wurzel               he had taken a nitroglycerin pill on the way to work
         he would have to be cleared by Dr. Marshall before returning             and wanted his blood pressure checked. Wurzel reported
         to work. Id.                                                             that he was dizzy and very fatigued. The EHC called
                                                                                  Wurzel's daughter to drive him home. Notes of 1/30/09
         Dr. Marshall ordered an independent medical exam (IME)                   (R. 37-2 at 21-22).
         for Wurzel with cardiologist Dr. Biswas. Marshall Aff. ¶ 8;
                                                                                   On February 6, 2009, an in-plant ambulance was
         Dewey letter of 11/4/08 (R. 37-2 at 48). Before Wurzel's IME,
                                                                                   requested for Wurzel, who went to the EHC with
         Dr. Marshall wrote Dr. Biswas to inform him about Wurzel's
                                                                                   chest pains. Wurzel obtained relief after taking two
         condition and symptoms, and that Wurzel worked in a
                                                                                   nitroglycerin pills, but remained pale and fatigued. The
         "manufacturing environment where there are many machines,
                                                                                   nurse noted that Wurzel had stated that this was a "bad
         tow motors, and other safety sensitive issues at play."
                                                                                   one," and that lately his pain seemed to be worse. The
         Marshall Letter of 11/4/08 (R. 40-1 at 1-3). Dr. Marshall
                                                                                   nurse also noted a statement by Wurzel that "[t]here are
         askedDr. Biswas to evaluate "the documentation andphysical
                                                                                   days I have taken 9 nitro." EHC Record of 2/6/09 (R.
         examination ofMr. Wurzel and make recommendations with
                                                                                   37-2 at 56). 5
         regards to your opinion of his ability to work safely in this
         type of environment." Id. at 2. Wurzel saw Dr. Biswas on
                                                                              Wurzel saw Dr. Issa on February 13,2009, for an evaluation.
         November 13,2008. Notably, *6 Wurzel specifically denied
                                                                              Under the "History of Present Illness" section of his letter,
         having dizziness, chest pain, or palpitations "at the time of
                                                                              Dr. Issa wrote, "I saw the patient in our Cardiovascular Clinic
         the evaluation," and apparently did not inform Dr. Biswas of
                                                                              on 2/13/09 for follow-up. As you may recall, he is a 45—
         any history of dizziness, lightheadedness, or fatigue. Biswas
         report of 11/13/08 at 2,3-4 (R. 40-1). Dr. Biswas concluded          year—old male who is followed for Prinzmetal angina. The
                                                                              patient at work had three episodes of chest pain, relieved
         that Wurzel could return to work without restrictions:
                                                                              promptly with nitroglycerin in less than 3 minutes; otherwise,
           As far as his returning to work, based on the information          no other cardiac symptoms." Issa letter of 2/17/09 (R.43-
           that I have at this time which includes that his carotid           1 at 1). Based on this information, Dr. Issa concluded that



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         Wurzel's symptoms were "stable" and that *7 Wurzel should          Wurzel's safety was "paramount and very concerning," and
         not be restricted from returning to work. Id. Dr. Issa stated in   explained:
         deposition that he constructed the medical history from what
         Wurzel told him. Issa Dep. at 86. However, when Dr. Marshall
         subsequently informed Dr. Issa of Wurzel's recent additional                   From the limited information
         spasms, Dr. Issa maintained his conclusion that Wurzel could                   available, it appears that Mr. Wurzel's
         work without restriction. Marshall Notes of 2/19/09 (R. 37-                    symptoms are quite serious. I believe
         2 at 63-64). 6                                                                 that he should seek the opinion of
                                                                                        another cardiologist to enter into a
         Despite Dr. Issa's opinion, Dr. Marshall remained concerned                    treating relationship. His returning to
         that Wurzel was a safety risk, particularly because of                         work seems to pose some risk for
         the working environment at the Clyde Division—involving                        his health. It is my understanding
         rapid-pace machines, tow motors, and conveyor lines—and                        that Mr. Wurzel's regular duties
         the frequency of Wurzel's symptoms. Marshall Aff. ¶ 11;                        include working next to machinery and
         Marshall Notes of 2/19/09. Dr. Marshall was concerned                          working alone out of the line of sight
         that Dr. Issa and Dr. Biswas "do not clearly understand                        of others. I would strongly recommend
         the risks that are present in this environment." Marshall                      that if Mr. Wurzel returns *8 to
         Notes of 2/19/09. Dr. Marshall was also concerned that                         work, he should work under close
         Dr. Biswas was not aware of the more frequent occurrence                       observation. If this is not possible, then
         of Wurzel's symptoms. Id. Dr. Marshall concluded that he                       I would recommend that he be kept off
         would again contact Dr. Biswas for his input, and in the                       work.
         meantime Wurzel could return to work, but with significant
         restrictions, including no working around machinery, no
         working at heights, and no driving company vehicles. Id.           Id.
         Because Wurzel's position in the paint department required
         him to work at heights and around conveyor lines and moving        Dr. Biswas then reviewed Dr. Issa's records and on May 8,
         machinery, he could not return to his job and was forced to        2009, wrote a letter to Dr. Marshall. Biswas Letter of 5/8/09
         remain on sick leave. Schulz Aff. ¶ 12.                            (R. 43-1 at 12-13). Dr. Biswas notes that it appeared Dr.
                                                                            Issa was not aware of the severity of Wurzel's spasms at
          **6 Dr. Marshall wrote Dr. Biswas on February 19,2009,            work because the records did not acknowledge Dr. Marshall's
         informing him of the spasms that Wurzel had experienced            communication regarding the severity of the symptoms.
         since Dr. Biswas's November 2008 IME. Marshall Letter              Dr. Biswas notes that Dr. Issa understood that Wurzel had
         of 2/19/09 (R. 43-1 at 9-10). In addressing the incident of        chest pain, but believed that it was mild and promptly
         February 6,2009, Dr. Marshall wrote that Wurzel had "taken         relieved with nitroglycerin. Dr. Biswas recommended that
         nine nitroglycerin with no relief of his symptoms." Id. at 9.      Wurzel communicate with Dr. Issa regarding the additional
         Dr. Marshall also mentioned that Wurzel's job caused him           instances Dr. Marshall had described. With regard to his own
         to work next to machinery and out of others' sight. Id. at         conclusions, Biswas wrote:
         10. Dr. Marshall asked if this new information would change
         the recommendations Dr. Biswas had made in his original
         report. Id. Dr. Marshall also informed Dr. Biswas that he had                  As I mentioned in my previous letter,
         spoken with Dr. Issa the day of the letter, and that Dr. Issa                  until we clear this situation regarding
         still recommended that Wurzel be returned to work without                      the disparity of his symptoms I would
         restriction. Id. at 9.                                                         recommend that he should be working
                                                                                        only under observation and should
         Dr. Biswas wrote back on March 5,2009. Biswas Letter of                        avoid working close to any potentially
         3/5/09 (R. 43-1 at 11). Dr. Biswas noted that he was unable to                 risky area. My concern is that if he
         obtain Dr. Issa's latest records, and thus could not comment on                continued to use the nitroglycerin in
         Dr. Issa's conclusion that Wurzel could return to work without                 such excessive number, such as nine
         restriction. Id. As for his own opinion, Dr. Biswas wrote that                 at a time, which can create significant


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                     problems in terms of side effects
                     of this medication.... Again, I am                  II. Procedural History
                     recommending that he communicate                    Wurzel filed suit in the United States District Court for the
                     with Dr. Issa regarding this episode                Northern District of Ohio against Whirlpool in March 2009.
                     he had in your plant on February 6,                 Although *9 the amended complaint alleged violations of
                     2009, and describe the symptoms and                 several state and federal laws, only Wurzel's claim pursuant
                     the number of nitroglycerin he took at              to the ADA is before this Court on appeal. 7 Whirlpool filed
                     that time.                                          a motion for summary judgment, which the district court
                                                                         granted in April 2010.


          **7 Id. at 13.                                                 In its decision, the district court noted that the events of the
                                                                         case occurred both before and after the effective date of the
         On June 11, 2009, Dr. Marshall again wrote Dr. Biswas,          most recent amendments to the ADA and analyzed Wurzel's
         asking him to clarify his conclusions that Wurzel could only     claim under both versions. 8 The court characterized the case
         work under close observation and should avoid working close      as involving Wurzel's two treating physicians' opinion that he
         to any potentially risky area. Marshall Letter of 6/11/09 (R.    could return to work without restriction versus the opinion of
         43-1 at 14). Dr. Biswas responded that Wurzel should "not        the plant physician and an independent medical evaluator that
         work alone near areas with an assembly line or moving            Wurzel could not safely return to work without restriction, and
         machinery" and should avoid working close to moving              concluded that Wurzel's treating physicians were not aware
         objects or moving machinery. Biswas Letter of 6/17/2009 (R.      of pertinent information while plant physician Dr. Marshall
         43-1 at 15-16).                                                  was well informed of Wurzel's symptoms. Id. at 11-12. The
                                                                          court determined that Wurzel failed to make out a prima
         On August 6, 2009, Whirlpool conducted a "Restriction           facie case of discrimination because Wurzel did not establish
         Review" evaluating Wurzel's job duties in the paint              that he was regarded as disabled under either version of the
         department in relation to the restrictions recommended by        ADA. Specifically as to the pre-amendment ADA, the court
         Dr. Biswas and adopted by Dr. Marshall. Restriction Review       concluded that Wurzel failed to show that Whirlpool regarded
         (R. 41-1 at 19). Whirlpool determined that Wurzel could          him as having an impairment that substantially limited him
         not perform the job functions because one of the rotations       from working in a "broad class of jobs," a requirement for
         required him to work alone and outside the presence of other     establishing that he was regarded as disabled under the ADA.
         employees and all of the positions involve working close
                                                                         See 1M Sutton v. United Air Lines, Inc., 527 U.S. 471, 491,
         to a "moving overhead conveyor." Id. On August 13, 2009,
         Wurzel was informed that Whirlpool had determined that          119 S.Ct. 2139, 144 L.Ed.2d 450 (1999);      Wysong v. Dow
         he could not safely perform the essential functions of the      Chem. Co., 503 F.3d 441, 452 (6th Cir.2007). The court
         paint department position based on his restrictions. Schulz     concluded that, during the relevant time, the only job from
         Aff. ¶ 14. Wurzel was told that he could bid on any position    which Wurzel was restricted was driving a tow motor.
         that he believed met his restrictions, and if a restriction
         review determined that he could safely perform the essential     **8 Regarding the post-amendment ADA, the court
         functions of the position, it would be given to him. Id.        concluded that Wurzel failed to meet the "regarded as"
         Otherwise, Wurzel would have to remain on sick leave, unless    requirement that he be "subjected to an action prohibited
         he could confirm that he had been spasm-free for six months.    under [the ADAAA] because of an actual or perceived
         Id. Wurzel had experienced multiple spasms within the prior     physical or mental impairment whether or not the impairment
         six months and, thus, went on sick leave. Id. Because Wurzel    limits a major life activity." 42 U.S.C. § 12102(3)(A). As part
         had exhausted his 26 weeks of paid sick leave, his leave was    of the determination of whether Whirlpool's action against
         without pay. Id. ¶ 15.                                          Wurzel was prohibited, the court analyzed whether Wurzel
                                                                         was "qualified." The court concluded that Wurzel posed a
         Wurzel eventually returned to work without restrictions on      direct threat to the health and safety of himself and others in
         March 1, 2010, claiming to have been spasm-free for six         the workplace, and thus was not "qualified." It also concluded
         months. EHC Notes of 2/25/10 (R. 47-4).                         that "actions motivated by bona fide concerns with worker
                                                                         safety cannot be deemed or found to be prohibited under the



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         ADA, as amended or otherwise[.]" Based on those premises,        show that: 1) he is an individual with a disability; 2) he is
         the court held that Wurzel had not shown that Whirlpool's        otherwise qualified to perform the job requirements, with or
         actions violated the ADAAA. Thus, the court held that Wurzel     without reasonable accommodation; and 3) he was discharged
         was not regarded as disabled under the ADAAA. 9 Wurzel           solely by reason of his handicap." Macy v. Hopkins County
         timely appealed.                                                 Sch. Bd. of Educ., 484 F.3d 357, 363 (6th Cir.2007) (internal
                                                                          quotation marks omitted). 19

                                DISCUSSION                                The timing of the relevant events in this case—from May
                                                                          2003 to August 2009—means that there are two relevant
         I. Standard of Review                                            standards for defining a disability, in particular a "regarded
         This court reviews de novo the order of a district court         as" disability. In 2008, the ADA was modified by the
         granting summary judgment.        Tucker v. Tennessee, 539       ADAAA. The amendments were effective as of January 1,
         F.3d 526, 531 (6th Cir.2008). A court "shall grant *10           2009, and do not apply retroactively to conduct occurring
         summary judgment if the movant shows that there is no            before that date. See Milholland v. Sumner County Bd. of
         genuine dispute as to any material fact and the movant is        Educ., 569 F.3d 562, 567 (6th Cir.2009). Accordingly, with
         entitled to judgment as a matter of law." Fed.R.Civ.P. 56(a).    regard to events occurring before January 1, 2009, the ADA
         When evaluating a summary-judgment motion,                       applies; with regard to events occurring in and after 2009, the
                                                                          amended version of the ADA—i.e., the ADAAA—applies.
                                                                          Compare 42 U.S.C. § 12102(2) (2006) with 42 U.S.C. §
                     credibility judgments and weighing of                12102(3)(A)-(B).
                     the evidence are prohibited. Rather,
                                                                           **9 The parties raise numerous arguments related to the
                     the evidence should be viewed in the
                                                                          district court's interpretation and application of the regarded-
                     light most favorable to the non-moving
                                                                          as disability requirement, under both the ADA 11            *11
                     party.    Anderson v. Liberty Lobby,
                     Inc., 477 U.S. 242, 255, 106 S.Ct.                   and the ADAAA. 12 However, the court need not address
                     2505, 91 L.Ed.2d 202 (1986). Thus,                   these issues in order to resolve this appeal. Even assuming
                     the facts and any inferences that can                in Wurzel's favor that he was disabled or regarded as
                     be drawn from those facts [ ] must be                disabled, Wurzel cannot prevail under either version of the
                     viewed in the light most favorable to                statute where the record establishes as a matter of law that
                                                                          Whirlpool's determination that Wurzel posed a direct threat
                     the non-moving party.       Matsushita               was based on a reasonable medical judgment, which relied
                     Elec. Indus. Co. v. Zenith Radio Corp.,              on the most current medical knowledge and best available
                     475 U.S. 574, 587, 106 S.Ct. 1348, 89                objective evidence and reflected an individualized assessment
                     L.Ed.2d 538 (1986).                                  of Wurzel's abilities. Because the district court correctly
                                                                          determined that the record establishes that Wurzel was a direct
                                                                          threat, and we may affirm on any ground supported by the
         Biegas v. Quickway Carriers, Inc., 573 F.3d 365, 373 (6th
                                                                          record,    Bazzi v. City of Dearborn, 658 F.3d 598, 606 (6th
         Cir.2009) (quotation marks omitted).
                                                                          Cir.2011), this conclusion resolves the appeal now before us.


         II. Relevant Disability Law
                                                                          III. "Otherwise Qualified" / "Direct Threat" Analysis
         Under the ADA, "[n]o covered entity shall discriminate
         against a qualified individual on the basis of disability in       A. Applicable Law
         regard to job application procedures, the hiring, advancement,
         or discharge of employees, employee compensation, job            In    Estate of Mauro v. Borgess Medical Center; 137 F.3d
         training, and other teirus, conditions, and privileges of        398 (6th Cir.1998), this Circuit set out the applicable case law:

         employment."       42 U.S.C. § 12112(a). In order to recover       To prevail under his Americans with Disabilities Act claim,
         on a claim of discrimination under the ADA, "a plaintiff must      [a plaintiff] must show that he is "otherwise qualified" for



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                                                                                the best available objective evidence."). Courts are to assess
           the job at issue. See [Doe v.] Univ. of[Md. Med. Sys], 50
                                                                                the objective reasonableness of the views of the employer
           F.3d [1261,] 1266 [ (4th Cir.1995) ]. A person is "otherwise
                                                                                and/or employer's medical professionals who made the direct
           qualified" if he or she can perform the essential functions
                                                                                threat-decision.    Bragdon, 524 U.S. at 650, 118 S.Ct. 2196.
           of the job in question. See Bradley [v. Univ. of Tex. M.D.
           Anderson Cancer Ctr.], 3 F.3d [922,] 924 [ (5th Cir.1993) ].
                                                                                Applying these standards, courts of appeals have affirmed
           A disabled individual, however, is not "qualified" for
                                                                                summary judgment in favor of a defendant where the record
           a specific employment position if he or she poses a
                                                                                evidence demonstrated that the plaintiff was a direct threat in
           "direct threat" to the health or safety of others which
           cannot be eliminated by a reasonable accommodation. See              his factory workplace. In Moses v. American Nonwovens,
                                                                                 *13 Inc., 97 F.3d 446, 447-48 (11th Cir.1996), cert. denied,
               42 U.S.C. § 12111(3);        University of Md., 50 F.3d at
                                                                                519 U.S. 1118, 117 S.Ct. 964, 136 L.Ed.2d 849 (1997), the
           1265. 13                                                             Eleventh Circuit explained that an epileptic worker with a
                                                                                significant risk of seizures on the job who worked close to
                                                                                fast-moving and high-temperature machinery was a direct
            *12 ... Our analysis ... [entails] one question: Did [the
                                                                                threat. The court rejected the worker's argument that there
           plaintiffs] activities [at his job] pose a direct threat or
                                                                                was no actual risk of harm as long as he followed instructions
           significant risk to the health or safety of others?
                                                                                and worked "downstream" from the equipment.              Id. at
              Mauro, 137 F.3d at 402. See also             Holiday v. City of
           Chattanooga, 206 F.3d 637, 648 n. 4 (6th Cir.2000) ("The             448. In     Hutton v. Elf Atochem North America, Inc., 273
           ADA provides that a disabled individual is not `qualified'           F.3d 884, 886-87 (9th Cir.2001), the plaintiff, a diabetic
           for a specific employment position if he poses a `direct             who had experienced hypoglycemic episodes where he could
           threat' to the health or safety of others that cannot be             not communicate for a period of time and was sometimes
           eliminated by a reasonable accommodation.").                         lightheaded, operated the equipment that produced, stored,
         There are four factors to be considered in a direct-threat             and transferred liquid chlorine. The court acknowledged the
         analysis: (i) the duration of the risk, (ii) the nature and severity   plaintiffs arguments that he lost consciousness only once
         of the potential harm, (iii) the likelihood that the potential         in his lengthy tenure and that the potential for harm was
         harm will occur, and (iv) the imminence of the potential               small because of the safety features of the equipment he
         harm. 29 C.F.R. § 1620.2(r); Mauro, 137 F.3d at 402. With              used.     Id. at 893-94. However, the court concluded that
         regard to the risk presented, "[a]n employer ... is not permitted      the plaintiff nevertheless posed a significant risk under the
         to deny an employment opportunity to an individual with a              direct-threat framework, noting the plaintiffs history and the
         disability merely because of a slightly increased risk. The risk       fact that "a significant physical or mental lapse by [plaintiff]
         can only be considered when it poses a significant risk, i.e.          as a result of a diabetic episode could result in substantial
         high probability, of substantial harm; a speculative or remote
                                                                                harm to his co-workers and others."        Id. at 894. Finally,
         risk is insufficient."    Id. at 403. 14
                                                                                in     Darnell v. Thermafiber, Inc., 417 F.3d 657, 661 (7th
                                                                                Cir.2005), the Seventh Circuit concluded that a plaintiff with
          **10 With regard to the employer's evaluation of an
                                                                                uncontrolled diabetes and a resulting risk of passing out on the
         employee's direct-threat risk, "the employer must conduct
                                                                                job presented a direct threat where employees were required
         an individualized inquiry into the individual's actual medical
                                                                                to climb tall ladders, operate dangerous machinery, and help
         condition, and the impact, if any, the condition might have
                                                                                lift 80—pound pieces of fiberboard in a hot environment. The
         on that individual's ability to perform the job in question."
                                                                                court reached this conclusion despite plaintiffs arguments
           Holiday, 206 F.3d at 643. In addition, the risk assessment           that the single doctor who evaluated him was not thorough
         must be based on "medical or other objective evidence."                enough and that he had worked at the plant for ten months
            Bragdon v. Abbott, 524 U.S. 624, 649, 118 S.Ct. 2196, 141           without incident.    Id. at 660, 662.
         L.Ed.2d 540 (1998). See also 29 C.F.R. § 1630.2(r) ("This
         assessment shall be based on a reasonable medical judgment               B. Decision Below and Parties' Arguments
         that relies on the most current medical knowledge and/or on



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          "11 The district court concluded that Wurzel did not meet
         the qualification requirement because he posed a direct threat        (d) Dr. Biswas testified that had he done an in-person
         to his and others' safety. With regard to the first two factors—        interview with Wurzel, his determination may have been
         duration of risk and nature and severity of potential harm—             affected.
         the court noted that Prinzmetal angina is a life-long condition,
         and that, if Wurzel were to suffer a spasm "while driving a tow     In addition to echoing Wurzel's arguments, the EEOC argues
         motor or working alone in proximity to moving machinery             that the district court erred by ignoring Wurzel's testimony
         or at a height from which a fall could cause injury, the            indicating that he always knows when a spasm is about to
         consequences for his own well-being and others['] can hardly        begin and that, despite having spasms, he has never had
         be disputed." With regard to likelihood of occurrence, the          an accident. The EEOC also argues that both of Wurzel's
         court concluded that the unforeseeability of a spasm and the        treating cardiologists testified that he was highly unlikely to
         unpredictability of its effects meant that "the odds are great"     become incapacitated without warning, and that the chance
         that Wurzel or someone else would have been injured had he          that Wurzel would become suddenly incapacitated raises
         continued to drive a tow motor, or work alone near moving           a genuine issue of material fact, rather than establishing
         machinery or at heights. Id. at 17. With regard to imminence,       significant risk as a matter of law.
         the court concluded that "[w]hile the risk of injury in this case
         might not have been in every instance and at every moment            **12 With regard to Wurzel's arguments concerning Dr.
         immediate, it was sufficiently likely to occur that at any given    Marshall's decisionmalcing process, Whirlpool responds that
         moment it might have been imminent, as the law understands          Dr. Marshall did speak to, and elicit information from,
         that term in this context." /d. at 18.                              Wurzel's treating physicians—he reviewed the records of
                                                                             Dr. Issa and Dr. Stockton, and consulted with Dr. Issa
         On appeal, Wurzel contends that the law requires that a             multiple times. With regard to Dr. Biswas not having Wurzel's
         defendant's belief that an employee presents a direct threat        medical records before he met with him, Whirlpool notes
         must be objectively reasonable and based upon the available         Dr. Biswas's testimony that it was not uncommon to perform
         medical evidence reflecting an individual assessment of the         an IME without reviewing the medical records beforehand,
         employee. Wurzel contends that Whirlpool's belief that he           and notes that, in any case, Wurzel does not take issue
         presented a direct threat was flawed because:                       with the results of that IME. Whirlpool points out that
                                                                             Wurzel's treating physicians were also not familiar with
           (i) Dr. Marshall, a family physician, discounted the              the Whirlpool plant; only Dr. Marshall was. Whirlpool also
              opinions of Wurzel's treating physicians—cardiology            argues that Wurzel was not forthcoming with Dr. Issa and Dr.
              specialists—without speaking with them *14 or getting          Stockton about his symptoms, meaning they had an inaccurate
              information from them, and                                     understanding of how Prinzmetal angina affected Wurzel
                                                                             specifically. Concerning the nitroglycerin pills, Whirlpool
           (ii) Dr. Marshall relied on the opinion of Dr. Biswas that        points to Dr. Biswas's testimony that, even if Wurzel had
              Wurzel could not safely return to work, which was              not taken nine nitroglycerin pills, his opinion about Wurzel's
              problematic because:                                           symptoms being a safety concern would not have changed.

           (a) Dr. Biswas, an independent medical examiner, was
                                                                             Whirlpool further contends that the district court's reasoning
              unfamiliar with the Whirlpool plant, did not have
                                                                             was sound. In response to the point that, despite having
              Wurzel's medical records before he met with him, and
                                                                             spasms at work, Wurzel had never had an accident, Whirlpool
              made all of his determinations based upon one interview
                                                                             contends that an employer is not required to wait for a serious
              with Wurzel and Wurzel's "paperwork,"
                                                                             injury to occur before concluding that a worker is a direct
           (b) Dr. Biswas first concluded that Wurzel could work             threat. Whirlpool also argues that Wurzel's physicians did not
             without restrictions, and only changed his mind after Dr.       state that it was highly unlikely that Wurzel would become
             Marshall asked him to reconsider,                               incapacitated without warning, rather one (Dr. Stockton) did
                                                                             not address it and another (Dr. Issa) simply stated that, in
           (c) Dr. Marshall gave Dr. Biswas the incorrect information        his experience, he had never seen it happen. In any case,
              that Wurzel had taken nine nitroglycerin pills in one          Whirlpool stresses, Wurzel did become incapacitated on
              day, information upon which Dr. Biswas relied when             several occasions.
              changing his recommendation, and


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                                                                           also includes at least one incident where he was found
            C. Analysis                                                    by another employee doubled over on a bench, "ready to
         Applying the standards set out above, we conclude that            pass out," another incident where he required an in-house
         Whirlpool was entitled to *15 summary judgment because            ambulance and stretcher to bring him to the plant's EHC, and
         the evidence before the district court establishes, as a matter   several others where he needed an escort to get to the EHC. In
         of law, that Whirlpool's determination that Wurzel posed a        addition, Wurzel's own admission that he was at times dizzy
         direct threat was based on a reasonable medical judgment,         and fatigued in connection with these spasms, and that he
         which relied on the most current medical knowledge and best       could not predict when one would occur or how severe it
         available objective evidence and reflected an individualized      would be lends support to the reasonability of the restrictions.
         assessment of Wurzel's abilities. We also conclude that there     These restrictions were then evaluated in relation to Wurzel's
         is no evidence of a reasonably based medical judgment             specific job duties in the paint department. See Restriction
         supporting the view that Wurzel did not pose a direct threat.     Review (R. 41-1 at 19). Whirlpool determined that Wurzel
                                                                           could not do the job because one of the rotations required him
         As an initial matter, Dr. Marshall—the individual who gave        to work alone and outside the presence of other employees
         Whirlpool its information about the risks Wurzel's condition      and all of the positions involved working close to a "moving
         posed—engaged in a sufficient process. He was familiar with
         Wurzel's job duties and knew that they included (initially)       overhead conveyor." Id. Cf.        Hutton, 273 F.3d at 891-
         operating a tow motor, and (later) working in a position where    94 (company closely examined plaintiffs medical restrictions
         he had to be in close proximity to moving machinery and           and specific job duties before concluding that he could not fill
         an automatic conveyor belt, and where one essential rotation      any position).
         entailed working out of the sight of others. Dr. Marshall
         obtained much individualized information about Wurzel's            *16 **13 In addition, none of Wurzel's (or the EEOC's)
         medical condition. He saw Wurzel himself, reviewed the            arguments provides reason to conclude that the result was not
         medical records from the plant's EHC, obtained the medical        reasonably reached.
         opinions of Wurzel's treating cardiologists, Dr. Issa and
         Dr. Stockton, and, in light of the differences of opinion         With regard to the argument that Whirlpool wrongly
         between medical professionals, sought out the opinion of          discounted the opinions of Wurzel's treating cardiologists,
         an independent medical examiner. As Dr. Marshall was the          Whirlpool's decision to favor the recommendation of its own
         plant physician, he had access to updated information as          plant physician, Dr. Marshall, and the final recommendation
         Wurzel's condition changed, meaning his medical knowledge         of the independent medical examiner and cardiologist, Dr.
         of Wurzel's condition was current. In addition, he followed       Biswas, over the recommendations of Wurzel's treating
         up with Wurzel's other physicians in order to make them           cardiologists, Dr. Issa and Dr. Stockton, was reasonable.
         aware of his better understanding of Wurzel's job environment     As explained below, Wurzel's treating cardiologists did
                                                                           not have current and complete information when making
         and changes in Wurzel's condition. Cf.      Hutton, 273 F.3d      their recommendations—and there is evidence that one of
         at 891-94 ("individualized assessment of each factor" had         them would have changed his recommendation, had he had
         occurred in case where company had the input of several           complete information.
         physicians who had examined plaintiff and information about
         the plant atmosphere and plaintiffs job duties). Further, the     Leading up to Dr. Issa's March 2008 conclusion that
         result was reasonably reached. Dr. Marshall adopted the           Wurzel could return to work without restrictions, Wurzel had
         ultimate recommendation of independent medical examiner           informed Dr. Issa that he had experienced "rare episodes of
         Dr. Biswas that Wurzel should "not work alone near areas          chest tightness relieved with nitroglycerin" and "otherwise
         with an assembly line or moving machinery" and should             denied any cardiac symptoms." Thus, Dr. Issa did not know
         avoid working close to moving objects or moving machinery.        that, actually, Wurzel had recently experienced three spasms,
         Biswas Letter of 6/17/2009 (R. 43-1 at 15-16). These              had gone to the EHC because of a spasm, and had left work
         restrictions were reasonably supported by Wurzel's extensive      early due to fatigue and safety concerns.
         history of spasms in the workplace, which entails at least
         eleven instances, at least five of which required visiting the    In October 2008, Dr. Issa again concluded that Wurzel
         plant emergency room, and the majority of which required          could return to work. Although Dr. Issa's records correctly
         Wurzel to leave work and go home. Wurzel's spasm history          reflect that Wurzel had experienced "an increase of angina


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         symptoms" and that these symptoms were on a daily basis,
         Dr. Issa was not aware that Wurzel had experienced dizziness,       In light of all of the information that Wurzel's treating
         fatigue, and lightheadedness in connection with his recent          cardiologists were missing at the various times that they
         increased spasms. 15 Dr. Issa testified in his deposition that      recommended he be allowed to work with no restrictions, 17
         dizziness or lightheadedness is not a common symptom of             Dr. Marshall's discounting of their opinions was eminently
         Prinzmetal angina, 16 and had he known that Wurzel was              reasonable. 18
         experiencing those symptoms, he would have considered
         performing other testing, adjusting Wurzel's medication, or         With regard to Wurzel's argument that the independent
         monitoring for an arrhythmia. Issa Dep. at 67-68. Notably,          medical examiner, Dr. Biswas, had originally concluded that
         Dr. Issa stated that, had he known Wurzel was experiencing          Wurzel could work without restrictions and only changed
         dizziness, lightheadedness, and/or fatigue, it would have           his mind after Dr. Marshall asked him to reconsider, Dr.
         changed his prior opinion that Wurzel was able to return to         Marshall's action was reasonable. As was the case with his
         work:                                                               treating physicians, Wurzel did not accurately inform Dr.
                                                                             Biswas of the extent of his condition when Dr. Biswas
                                                                             examined him in November 2008. Wurzel told Dr. Biswas
           Q: ... had you known that Mr. Wurzel was experiencing             that he rarely experienced chest pain, and when he did,
             dizziness, lightheadedness, fatigue, in connection with         his symptoms "c [ould] be quickly brought under control
             his spasms, would that have changed your opinion of his         with the nitroglycerine." Dr. Biswas's original no-restriction
             ability to return to work?                                      recommendation was based upon this flawed information.
                                                                             When Dr. Marshall contacted Dr. Biswas in February 2009,
                 A: Would have, yes.
                                                                             he updated Dr. Biswas as to Wurzel's current job duties, and
            Id. at 69. In addition, Dr. Issa stated that his opinion about   as to spasm incidents that had occurred since Dr. Biswas had
               Wurzel's condition would have changed had he known            seen Wurzel last, reasonable action for a physician looking
               that Wurzel was found slumped over a work bench at the        for a thorough evaluation from a fellow physician.
               plant. Id. at 89.
         In February 2009, Dr. Issa again recommended that Wurzel be         It is true that one of the things that Dr. Marshall told Dr.
         returned to work without restriction. Again, Dr. Issa did *17       Biswas was the problematic information that Wurzel had
         not appear to be aware of the severity of Wurzel's symptoms.        "taken nine nitroglycerin with no relief of his symptoms."
         Although Dr. Issa's medical history stated that "[t]he patient      As mentioned in the fact section above, Wurzel taking nine
         at work had three episodes of chest pain, relieved promptly         nitroglycerin pills is a disputed fact which finds some support
         with nitroglycerin in less than 3 minutes; otherwise, no other      in the record, and Wurzel taking nine pills at a time with
         cardiac symptoms," in reality, (i) Wurzel had stated that his       no relief is a fact simply not supported by the record. It is
         pain was getting worse lately and that one of his episodes in       further true that both Dr. Marshall and Dr. Biswas mention
         particular had been "a bad one," (ii) a single nitroglycerin pill   this fact as a part of their explanation for restricting Wurzel.
         did not relieve the symptoms promptly in at least two of his        However, this point does not affect the analysis in this case.
         three most recent crises, and (iii) Wurzel had had to leave         Although Wurzel *18 disputes having taken nine pills, he
         work each time.                                                     did testify that he had taken a maximum of four to five
                                                                             nitroglycerin pills per day. And, Dr. Marshall states in his
          **14 Wurzel's other treating cardiologist, Dr. Stockton, also      affidavit that, had Wurzel never taken as many as nine pills
         saw Wurzel in February 2009. Although Dr. Stockton did              in a day, but only four or five, his opinion about Wurzel's
         not say anything explicitly about work restrictions, he wrote       symptoms being a safety concern would not have changed.
         that "[at t]his point, I would continue to put no specific          Wurzel Aff. ¶ 14. In addition, both Dr. Marshall and Dr.
         limitations on Mr. Wurzel from a cardiac standpoint." To the        Biswas relied on additional non-problematic grounds for their
         extent this statement can be understood as a release to work        conclusions. As Dr. Biswas explained in his deposition, he
         without restrictions, Dr. Stockton did not appear to know           also relied upon the severity of Wurzel's symptoms and the
         very much about any of Wurzel's spasm history. The "History         fact that they had gotten worse since his original report, the
         of Present Illness" section in Dr. Stockton's notes did not         fact that Prinzmetal angina "itself' can potentially cause one
         mention Wurzel suffering any spasms at work at all, and there       to pass out, and the fact that Wurzel would be working in
         is no indication whether Dr. Stockton was aware of them.            close proximity to machinery. Biswas Dep. at 59, 64 (R.


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         40). Likewise, Dr. Marshall also relied upon the increasing          about him was not reasonably based on an individualized
         frequency of Wurzel's symptoms over time, the presence               inquiry into his condition.
         of dangerous machinery in Wurzel's work environment, and
         Wurzel's essential work duties involving close contact with          On the work-history point, it is true that some courts have
         the machinery and working out of others' sight. Marshall Aff.        noted the fact that an employee has an injury-free record, or
         ¶ 15. 19                                                             a safe driving history, in concluding that the employee has
                                                                              established a genuine issue of material fact on the direct-
          **15 Having concluded that Whirlpool engaged in a                   threat question. See EEOC Amicus Br. at 27-28. However,
         sufficient process, and that the conclusions it reached              courts evaluating individuals whose conditions might cause
         were objectively reasonable based upon Wurzel's medical              them to be incapacitated tend to focus on the risk related to
         condition, the remaining question is whether these                   the workplace. Compare     Moses v. Am. Nonwovens, Inc.,
         conclusions about Wurzel's condition meet the standard for           97 F.3d 446, 447-48 (11th Cir.1996), cert. denied, 519 U.S.
         posing a direct threat. Applying the four-part standard of           1118, 117 S.Ct. 964, 136 L.Ed.2d 849 (1997) (an epileptic
             Mauro and 29 C.F.R. § 1620.2(r), we hold that the district       working near dangerous fast-moving and high-temperature
         court did not err in concluding that Whirlpool's decision            machinery was a direct threat) and Dark v. Curry, 451 F.3d
         reflected that Wurzel posed a direct threat. With regard to          1078, 1086-87 (9th Cir.2006) (driver with epilepsy who had
         the first factor, duration of the risk, the district court rightly   once passed out in the work vehicle, but had not gotten into
         noted the fact that Wurzel's condition was life-long. While          an accident, was not qualified without an accommodation)
         it is true that Wurzel was apparently spasm-free for at least
                                                                              with Nunes v. Wal—Mart Stores, Inc., 164 F.3d 1243, 1247-
         six months subsequent to Whirlpool's decision, at the time of
                                                                              49 (9th Cir.1999) (employee, a cashier who suffered from
         the decision, Wurzel and his physicians had not yet achieved
                                                                              fainting episodes, successfully raised an issue of material fact
         that kind of control over his condition, and there was no
         indication that they would. With regard to the *19 second            as to the question of direct threat) and Lovejoy—Wilson v.
         factor, nature and severity of the potential harm, the district      NOCO Motor Fuel, Inc., 263 F.3d 208, 219-21 (2d Cir.2001)
         court's simple analysis—that "were plaintiff to suffer a spasm       (convenience store clerk with epilepsy did not pose a direct
         while driving a tow motor or working alone in proximity to           threat to herself or others). As someone who worked close
         moving machinery or at a height from which a fall could cause        to dangerous automatic machinery and, at times, out of the
         injury, the consequences for his own well-being and others           sight of other employees who might be able to assist in an
         can hardly be disputed"—is apt. With regard to the third and         emergency, Wurzel's job environment certainly falls in the
         fourth factors—the likelihood that the potential harm will           potentially dangerous category. When one also considers the
         occur and the imminence of the potential harm—Wurzel and             facts that Wurzel had once previously been found on the
         the EEOC focus their arguments on the fact that Wurzel had           worksite doubled over and close to passing out, and that
         never had an accident and Wurzel's own testimony that he             numerous times he had required the assistance of a fellow
         would be able to sense when a spasm was coming and take              employee to get him to the EHC in a medical emergency,
         steps to safely stop what he was doing.                              the factors concerning likelihood and imminence of harm are
                                                                              unmistakably met
         These arguments do not defeat summary judgment on this
         point. Wurzel's deposition testimony does not establish               **16 For the above reasons, we conclude that no reasonable
         that Dr. Marshall's conclusion was unreasonable. Wurzel's            juror could find that Whirlpool's determination that Wurzel
         deposition is internally contradictory and conflicts with other      posed a direct threat to his own safety and that of *20 others
         record evidence. Although Wurzel did state that he knew              in the plant was not based on a reasonable medical judgment,
         when an attack was imminent, Wurzel Dep. at 129-30, he               which relied on the most current medical knowledge and best
         also testified that there was no way to know when a spasm            available objective evidence and reflected an individualized
         was about to happen. Id. at 40. Although Wurzel testified that       assessment of Wurzel's abilities. Nor could a reasonable juror
         he thought he could stop what he was doing in advance of a           find that there was evidence of a reasonably based medical
         spasm and that he had never had an accident, id. at 129-31,          judgment supporting the view that Wurzel did not pose a
         Wurzel had also been found in the workplace doubled over             direct threat. 2°
         a bench, close to passing out. Thus, Wurzel's testimony does
         not serve as an indicator that Dr. Marshall's medical judgment


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                               CONCLUSION
                                                                         All Citations
         The district court did not err in granting summary judgment,
         as the record establishes that Wurzel posed a direct threat.
                                                                        482 Fed.Appx. 1, 2012 WL 1449683, 26 A.D. Cases 521, 45
         Because this Court may affirm on any ground supported by       NDLR P 40
         the record, on this basis alone, we AFFIRM.




                                                                Footnotes


                 The Honorable Mark A. Goldsmith, United States District Judge for the Eastern District of Michigan, sitting
                 by designation.
         1       Dr. Marshall described Wurzel's working environment as follows:
                    ... Mr. Wurzel was a tow motor driver, and if his thought process or concentration were impaired for just one
                    second there was a significant risk that he could seriously injure himself or others at the [Clyde] Division.
                    This is because the tow motors operate in the same aisle on which pedestrians walk, with only yellow
                    painted lines separating the pedestrian lanes from the tow motor lanes. Furthermore, some of the machines
                    operating in the Division are near the aisles used by the tow motor operators, so there was a chance Mr.
                    Wurzel could hit the machines as well, causing significant injury to himself.
                 Marshall Aff.114.
         2       As a result of the increased spasms Dr. Issa increased Wurzel's dosage of Procardia and added magnesium
                 oxide. Issa notes of 6/11/08 (R. 37-2 at 33). Dr. Issa's records reflect that he understood that Wurzel had
                 "an increase of angina symptoms," and that these symptoms were on a daily basis. Issa notes of 6/17/08
                 (R. 37-2 at 31). However, Wurzel did not inform Dr. Issa that he had experienced dizziness, fatigue, and
                 lightheadedness in connection with spasms. Issa Dep. at 47, 67-68.
         3       As Dr. Marshall put it, "[a]lthough Mr. Wurzel presented a note from Dr. Roush that he could return to work and
                 drive a tow motor, the note again stated that Mr. Wurzel was not at any more risk for sudden incapacitation
                 than any other patient being treated for angina. Again, this did not alleviate my concerns because it did not
                 confirm Mr. Wurzel, as a person suffering from angina[,] was not at risk for sudden incapacitation." Marshall
                 Aff. 117.
         4       In addition a "Pre—TransporUEmergency Record" dated October 16, 2008, indicates that Wurzel visited
                 the EHC after a spasm and was pale and uncomfortable. According to the document, emergency medical
                 services were called and Wurzel was transported from the EHC to a hospital emergency room. EHC Record
                 of 10/16/08 (R. 37-2 at 46). In his deposition, however, Wurzel stated that the report was incorrect and that
                 his shift had not yet started by the time the report stated that he was in the EHC.
         5       The nine-nitroglycerin-pills statement is the source of significant disagreement between the parties. The
                 statement that the nurse wrote in the record is: "There are days I have taken 9 nitro." Dr. Marshall's affidavit
                 states that he was informed that Wurzel had told the nurse "that he had taken nine Nitros with no relief," a
                 significantly worse allegation (since it sounds as if Wurzel had both taken nine pills at one time and that doing
                 so had not been effective), which seems to be mistakenly derived from the original statement. Marshall Aff.
                 1110. Dr. Marshall also states in a later clinic note that Wurzel had taken nine nitroglycerin pills with no relief
                 on February 6, 2009. There is no support in the record for this statement. In any case, Wurzel disputes even
                 the original statement by the nurse. He contends that he has taken a maximum of four to five nitroglycerin
                 pills per day, and certainly not nine at a time. Wurzel Dep. at 226, 229, 236 (R. 37).
         6       Around this time, Wurzel also saw Dr. Stockton the cardiologist who had performed his catheterization some
                 years prior. Although Dr. Stockton did not say anything explicitly about work restrictions, he wrote that "[at
                 t]his point, I would continue to put no specific limitations on Mr. Wurzel from a cardiac standpoint." Stockton




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                 letter of 2/25/09 (R. 43-1 at 3). Dr. Stockton's "History of Present Illness' section did not mention Wurzel
                 suffering any spasms at work and there is no indication that Dr. Stockton was aware of them.
         7       The district court concluded that Wurzel had abandoned all but his ADA claim; Wurzel does not challenge
                 that holding on appeal.
         8       In 2008, the ADA was modified by the Americans with Disabilities Act Amendment Act (ADAAA), Pub.L. No.
                 110-325,122 Stat. 3553.
         9       In addition, the court held that, even assuming Wurzel had established a prima fade case, Whirlpool
                 was entitled to summary judgment because Wurzel had presented no evidence that Whirlpool's legitimate,
                 nondiscriminatory reason for its actions was a pretext for discrimination. Id. at 19. Because we affirm on other
                 grounds, we need not further address this holding.
         10      For the first time at oral argument, Wurzel argued that he presented direct evidence of discrimination and that
                 the district court need not have engaged in the McDonnell Douglas burden-shifting analysis. See also EEOC
                 Amicus Br. at 18-19 (making the same argument). The Court need not make a determination on this point,
                 however. Under either a circumstantial-evidence analysis (requiring application of the McDonnell Douglas
                 burden-shifting framework) or a direct-evidence analysis (not requiring the burden-shifting framework), a
                 plaintiff must show that he is otherwise qualified for the position. See       Macy, 484 F.3d at 363 (describing
                 requirements where no burden-shifting analysis employed);             id. at 365 (describing requirements under
                 burden-shifting analysis). Because this case turns on the issue of Wurzel's qualifications (specifically, whether
                 Wurzel is a "direct threat"), the question whether Wurzel has raised a direct-evidence argument or a
                 circumstantial-evidence argument is not outcome determinative.
         11      Wurzel argues that, in addition to the tow-motor restriction, Dr. Marshall expressed concern about Wurzel's
                 ability to work at the plant, and that together, these are evidence that Whirlpool regarded Wurzel as "disabled
                 in a variety of jobs, not just as a Materials Handler."
                 Whirlpool responds that Dr. Marshall's "general expression of concern" does not serve as evidence that the
                 company regarded Wurzel as disabled in a variety of jobs, citing the facts that the only restriction placed on
                 Wurzel during this time was the driving restriction, and that Whirlpool placed Wurzel in another position (in
                 the paint department).
         12      Wurzel and his amid (the EEOC and the National Employment Lawyers Association (NELA)) contend that the
                 district court improperly incorporated a qualification/direct-threat analysis into the straightforward question of
                 "regarded as" disability. They further argue that the district court's analysis of whether Wurzel was a direct
                 threat was an evaluation of Whirlpool's defense to liability, an issue that is not a part of the preliminary question
                 of whether Wurzel was disabled and an issue that is to be considered only after the resolution of the disability
                 issue. EEOC Amicus Br. at 18; NELA Amicus Br. at 15. The amid contend that the phrase "action prohibited
                 under this chapter," as employed by the statute, simply means any adverse action taken by the defendant,
                 and not (as the district court concluded) an adverse action that also violates the ADAAA. See NELA Amicus
                 Br. at 10-13; EEOC Rule 28(j) letter of 4/25/11.
                 Whirlpool defends the district court's interpretation of the ADAAA, arguing that the adverse-action
                 interpretation is counter to the plain meaning of the statute. See Appellee's Br. at 29 ("After all, an 'adverse
                 action,' in and of itself, is not prohibited under the ADAAA."); id. at 31 ("if the employer acts because of a
                 legitimate business reason, or because the employee poses a 'direct threat,' the conduct is not discriminatory
                 or 'prohibited under the ADAAA' ").
         13      As a plaintiff bringing a "regarded as" claim, Wurzel would not be entitled to the benefit of a reasonable
                 accommodation. See 42 U.S.C. § 12201(h) (2009). Thus, the question of his qualification must be
                 decided without regard to any potential accommodation. See          Baker, 414 Fed.Appx. at 774-76 (in
                 evaluating whether "regarded as" plaintiff was otherwise qualified, plaintiff would not have been entitled
                 to any reasonable accommodations). To the extent Wurzel's allegations should also be construed as an
                 actual-disability claim (as Wurzel argued in his reply brief), we note that Wurzel has never sought any
                 accommodation, making reasonable accommodation a non-issue in this case.



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         14     There is some question as to which party maintains the burden of proof. The Sixth Circuit has not yet ruled
               on this issue, and the courts of appeals decisions addressing it are not uniform. Compare          EEOC v. Wal—
               Mart Stores, Inc., 477 F.3d 561, 571-72 (8th Cir.2007) (employer must prove direct threat) with LaChance
               v. Duffy's Draft House, Inc., 146 F.3d 832, 835 (11th Cir.1998) (plaintiff must prove the absence of a direct
                threat). See also   Borgialli v. Thunder Basin Coal Co., 235 F.3d 1284, 1291-94 (10th Cir.2000) (describing
               cases on both sides); Rizzo v. Children's World Learning Ctrs., 213 F.3d 209, 223 (5th Cir.2000) ( "[T]he
               ADA is not a paragon of legislative drafting. Particularly impenetrable is the statutory allocation of burden of
               proof regarding an employee's qualifications and the threat that disabled employees might pose to health and
               safety.");     EEOC v. Amego, Inc., 110 F.3d 135, 144 (1st Cir.1997) (Plaintiff's "qualification" requirement
               means that he has the burden to show that he can perform the essential functions of the job and not be a
               direct threat to others; but where "the issue of direct threat is not tied to the issue of essential job functions
               but is purely a matter of defense, on which the defendant would bear the burden."). However, we need not
               resolve the issue of whether the burden is Wurzel's as part of his obligation to show that he is a "qualified"
               individual with a disability (by showing that he is not a direct threat to safety in the workplace), or whether the
               burden is Whirlpool's as part of an asserted affirmative defense (that the plaintiff was a direct threat to safety).
               Regardless of which party possesses the burden of proof on this point, as explained below, the district court's
               conclusion that Wurzel presented a direct threat is correct as a matter of law.
         15    Around this time, Wurzel also saw Dr. Roush, a substitute for Dr. Issa, who issued Wurzel the same back-
               to-work note (verbatim) that Dr. Issa had issued several months before. The record does not establish what
               Dr. Roush knew about Wurzel's condition in October 2008, but there is no reason to believe that Wurzel was
               any more forthcoming with Dr. Roush in October 2008 than he was with his regular doctor that same month.
         16    This point illustrates the mistake of another Wurzel argument—Dr. Issa did not testify that it was unlikely that
               Wurzel would be incapacitated (dizzy, lightheaded, or fatigued) without warning. Rather, Dr. Issa testified that
               it was unlikely for an individual with Prinzmetal angina to experience lightheadedness, dizziness, or fatigue.
               Issa Dep. at 11, 100. The fact that Wurzel did experience those (atypical) symptoms was something that Dr.
               Marshall knew and Dr. Issa did not, demonstrating Dr. Marshall's better contemporaneous understanding of
               Wurzel's condition.
         17    In addition, Dr. Issa was unfamiliar with the environment at the plant, unaware what machines Wurzel used
               when he operated a tow motor, and unaware what his job duties were when he had his paint department job.
               Issa Dep. at 57-59. Dr. Issa stated at deposition that this information did not matter to him because he did
               not feel that Wurzel needed any restrictions. Id. at 59-60, 96-97.
         18    Notably, even Wurzel's physicians who, at some point, concluded that he could return to work do not offer
               testimony that, after being made aware of all of the evidence, they felt he could have returned to work.
         19    Whirlpool effectively refuted Wurzel's other arguments that Dr. Biswas (i) was unfamiliar with the Whirlpool
               plant, (ii) did not have Wurzel's medical records before he met with him, and (iii) made his determinations
               after conducting only one interview with Wurzel and reviewing his paperwork. Whirlpool's various responses
               —all amply supported by the record—demonstrate that (i) all the physicians except for Dr. Marshall were
               unfamiliar with the Whirlpool plant, (ii) it is common practice to perform an IME without reviewing the medical
               records beforehand, and (iii) criticizing Dr. Biswas's IME procedures is of little importance in light of the fact
               that Wurzel does not take issue with the results of the IME.
               As for the final argument—that Dr. Biswas testified that, had he done an in-person interview with Wurzel, his
               determination may have been "affected"—this claim is unpersuasive. In the relevant exchange, Dr. Biswas
               confirmed that he had interviewed Wurzel in person only once and did not re-interview him. In response to
               counsel's question whether, if he had in fact interviewed Wurzel a second time, "could [it] have affected your
               recommendation," Dr. Biswas responded "It may." Biswas Dep. at 62. This response by Dr. Biswas was the
               only practical response to a general question about whether doing something different could have yielded
               something different. But this allowance means nothing without the fact (or even allegation) that Wurzel would



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               have presented contradictory or new information in a second interview. This innocuous testimony by Dr.
               Biswas stands in sharp contrast to the testimony of Dr. Issa that had he known that Wurzel was experiencing
               dizziness, lightheadedness, and fatigue, his opinion would have been different. See Issa Dep. at 67-68. Dr.
               Issa's admission that his opinion would change was significant because the record evidence establishes that,
               in fact, Wurzel was experiencing dizziness, lightheadedness, and fatigue, exposing the fact that Dr. Issa's
               conclusion was based upon incomplete or mistaken information. Dr. Biswas's testimony shows no such thing.
         20
                To the extent Wurzel's citation to two cases that are not binding precedent for this court—       Justice v. Crown
                Cork & Seal Co., 527 F.3d 1080 (10th Cir.2008) and  EEOC v. Burlington Northern & Santa Fe Railway
                Co., 621 F.Supp.2d 587 (W.D.Tenn.2009)—is meant to bolster his direct-threat argument, these cases are
               readily distinguishable. The  Burlington court determined that the defendant was not entitled to summary
               judgment where the company determined he could not return to work without examining the plaintiff or even
                consulting with any physicians who had. See         621 F.Supp.2d at 602. In contrast, here Dr. Marshall had
               frequent and regular contact with Wurzel and Dr. Biswas examined Wurzel. In         Justice, the Tenth Circuit
               concluded that the question of direct threat could not be resolved at the summary judgment stage where
               there existed serious questions about the objectivity of the single medical professional, a physical therapist,
               who concluded that the plaintiff could not return to work.     527 F.3d at 1091-92. In particular, the physical
               therapist's only information about the nature of the plaintiffs job duties and workplace came from a tour that
               may not have been an accurate depiction.      Id. at 1084, 1090. In contrast, here, both Dr. Marshall and
               Dr. Biswas reached the same conclusion regarding Wurzel's abilites; nor is there any evidence that either
               physician received tainted information about Wurzel's workplace or duties.


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